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5
6    Attorney for Defendant
     JUAN CARLOS MONTALBO
7
8
                     IN THE UNITED STATES DISTRICT COURT
9
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12
13   UNITED STATES OF AMERICA,   ) Case No. 2:16-CR-00092 JAM
                                 )
14          Plaintiff,           ) STIPULATION AND ORDER VACATING
                                 ) PRELIMINARY HEARING, SCHEDULING
15                      vs.      ) ARRAIGNMENT, AND EXCLUDING TIME
                                 ) AS TO DEFENDANT MONTALBO
16   M. A. RAMIREZ ZUNO, et al., )
                                 )
17          Defendants.          ) Date:   May 12, 2016
                                 ) Time:   2:00 P.m.
18                               ) Judge: Hon. Kendall J. Newman

19
20        IT IS HEREBY STIPULATED between plaintiff, United States of
21   America, and defendant Juan Carlos Montalbo that the preliminary
22
     hearing scheduled for May 12, 2016, may be vacated in light of
23
     the above-captioned indictment filed May 5th.         The parties agree
24
     that filing of the indictment obviates the need for a prelimin-
25
     ary hearing.   See Fed. R. Crim. P. 5.1(a)(1)(2).
26
27        The parties further ask the Court to schedule Mr.

28   Montalbo’s arraignment for Wednesday, June 15, at 2:00 p.m.

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1            A status conference has been set for the codefendants on
2    June 28 and time has been excluded through that date to allow
3
     the parties to review the 5,000 pages of unredacted discovery
4
     provided to date, with copious more to come.         Defense counsel
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     needs additional time to review discovery, confer with Mr.
6
     Montalbo, and to plan and execute further investigation.
7
8    Consequently, the parties agree that time under the Speedy Trial

9    Act should also be excluded as to Mr. Montalbo pursuant to 18
10   U.S.C. § 3161(h)(7)(A) and (b), through June 28, 2016, to allow
11
     for necessary preparation.      The parties agree that an exclusion
12
     of time outweighs the best interests of the public and Mr.
13
     Montalbo in a speedy trial and ask the Court to so find.
14
15
16                                     Respectfully submitted,

17                                     HEATHER E. WILLIAMS
                                       Federal Defender
18
19   Dated:    May 12, 2016            /s/ T. Zindel
                                       TIMOTHY ZINDEL
20                                     Assistant Federal Defender
                                       Attorney for JUAN MONTALBO
21
                                       PHILLIP A. TALBERT
22                                     Acting United States Attorney

23
     Dated:    May 12, 2016            /s/ T. Zindel for M. Morris
24                                     MATTHEW MORRIS
                                       Assistant U.S. Attorney
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     /////
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     /////
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     /////
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1                                    O R D E R

2
3         The preliminary hearing scheduled for May 12, 2016, is
4
     vacated.     Arraignment is scheduled before the duty magistrate
5
     judge on June 15, 2016, at 2:00 p.m.
6
          The Court finds that an exclusion of time under the Speedy
7
     Trial Act is warranted to allow for necessary preparation, as
8
9    set forth above.     Time is therefore excluded under the Speedy

10   Trial Act through June 28, 2016.          Considering the need for
11   preparation, the Court finds that the ends of justice served by
12
     an exclusion outweigh the best interest of the public and the
13
     defendant in a speedy trial.
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     Dated:     May 12, 2016
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